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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNI


UNITED STATES OF AMERICA,                      CASE NO. 14CR0313-W

                           Plaintiff,
                   vs.                         JUDGMENT OF DISMISSAL
CARINA ELIZABETH ARMIENTA
 (2) ,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

         an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

         the Court has dismissed the case for unnecessary delay; or

X        the Court has granted the motion of the Government for dismissal,
         without prejudice; or

         the Court has granted the motion of the defendant for a judgment of
         acquittal; or

         a jury has been waived, and the Court has found the defendant not
         guilty; or

         the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense{s) as charged in the Indictment:

         21 U.S.C. 952 AND 960; 18 U.S.C. 2 - IMPORTATION OF METHAMPHETAMINE

          AND AIDING AND ABETTING

               IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 04/28/14
                                                Thomas J:.
